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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,



         v.                                                Criminal Action No. 23-cr-257 (TSC)

 DONALD J. TRUMP,

                Defendant.


                                     PRETRIAL ORDER

1. TRIAL. Trial in this matter will begin on March 4, 2024, at 9:30 a.m. in Courtroom 9
   unless otherwise specified.

2. PRE-TRIAL MOTIONS. All other pre-trial motions, excluding motions in limine, shall be
   filed on or before October 9, 2023. Oppositions shall be due October 23, 2023. Replies
   shall be due November 6, 2023.

3. FED. R. EVID. 404(b) NOTICE. No later than December 4, 2023, the government shall
   provide notice of evidence it intends to offer pursuant to Fed. R. Evid. 404(b).

4. MOTIONS IN LIMINE/SUPPRESSION MOTIONS. All motions in limine and motions
   to suppress statements or tangible things shall be filed shall be filed on, or before, December
   27, 2023. Oppositions shall be filed no later than January 9, 2024. Replies shall be due
   January 22, 2024. The court will schedule a hearing on the motion(s) as necessary.

5. VOIR DIRE/ PROPOSED JURY INSTRUCTIONS. Counsel shall jointly submit both a
   short narrative description of the case, to be read to the prospective jurors, and proposed voir
   dire questions on or before January 15, 2024. By the same date, Counsel shall file proposed
   jury instructions and a proposed verdict form, jointly to the extent possible. To the extent
   that the parties seek to use pattern jury instructions from the current version of the DC
   Redbook, it is sufficient simply to list the numbers of those instructions. Special instructions


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   shall be submitted verbatim with citations to cases and other authorities to support each
   instruction. Proposed instructions shall be filed on ECF. The parties shall indicate (a) the
   instructions on which the parties agree; and (b) the instructions on which the parties disagree.

6. BRADY AND GIGLIO OBLIGATIONS. The Government is under an ongoing obligation
   to promptly provide defense counsel any favorable or exculpatory information (Brady) as it
   becomes available, whether or not admissible in evidence. Brady information must be
   disclosed on a rolling basis; “the duty to disclose is ongoing.” Pennsylvania v. Ritchie, 480
   U.S. 39, 60 (1987). To the extent it has not already done so, the Government must disclose
   information that may be useful for impeachment or may otherwise affect the credibility of
   any Government witness (Giglio)—including Lewis material—on or before February 12,
   2024. See United States v. Celis, 608 F.3d 818, 835–36 (D.C. Cir. 2010). The Government’s
   Giglio obligations are also ongoing.

7. EXPERT WITNESSES. The parties shall disclose any expert witnesses and file a brief
   description of each witness’ area of expertise and expected testimony by December 11,
   2023.

8. EXHIBIT LISTS. The parties shall exchange lists of exhibits they intend to use in their
   cases in chief by December 18, 2023. The parties shall file objections to exhibits by
   January 3, 2024. Replies shall be due January 9, 2024. All exhibits are to be marked in
   advance of trial and listed in order on the exhibit form obtained from the Courtroom Deputy
   Clerk. The written list of exhibits must contain a brief description of each exhibit.

9. WITNESS LISTS. The parties shall exchange lists of witnesses in their cases in chief by
   February 19, 2024. On that same date, the Government shall also provide to the defense all
   Giglio material not previously provided pertaining to each witness on the list. Counsel will
   not be absolutely bound by the witness lists or the sequence of witnesses on the list.

10. JURY SELECTION. The court will discuss its jury selection procedures at a later status
   hearing.




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Date: August 28, 2023

                                        Tanya S. Chutkan
                                        TANYA S. CHUTKAN
                                        United States District Judge




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